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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    PIKEVILLE

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )        Criminal No. 12-11-ART-(3)
                                               )
 v.                                            )
                                               )
                                               )    MEMORANDUM OPINION AND
 STEPHEN C. ARNY, M.D.,                                    ORDER
                                               )
         Defendant.                            )
                                               )

                                    *** *** *** ***
       The right to counsel guarantees more than an attorney who will stand next to you at

trial. Rather, the Sixth Amendment “envisions counsel[] playing a role that is critical to the

ability of the adversarial system to produce just results.” Strickland v. Washington, 466 U.S.

668, 685 (1984). Specifically, defense counsel’s role is to put the prosecution’s case to the

test. See id. (“[A]ccess to counsel’s skill and knowledge is necessary to accord defendants

the ample opportunity to meet the case of the prosecution.” (internal quotations omitted)).

To do so, counsel must investigate his or her client’s case, and interview, prepare, and call

key witnesses on his or her client’s behalf. Of course, a failure to do some or even all of

these things does not automatically mean counsel is constitutionally ineffective. But a

violation of these duties provides an opportunity to inquire into whether counsel’s actions or

inactions prejudiced his client. The ultimate question is whether “counsel’s conduct so

undermined the proper functioning of the adversarial process that the trial cannot be relied

upon as having produced a just result.” Id. at 686. Here, the answer is yes. Dr. Stephen

Arny’s trial counsel’s inaction helped his adversary—i.e., the government—convict him of
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conspiracy to distribute controlled substances.                     Thus, Dr. Arny’s counsel provided

constitutionally ineffective assistance, so Dr. Arny is entitled to a new trial.

                                               BACKGROUND

         Pain is not like a broken leg, torn muscle, or tumor; objective tests can neither prove

nor disprove the existence of pain. Doctors can of course use objective tests to identify an

injury that might cause pain. But doctors must rely on their patients’ subjective reports to

determine the level of pain their patients are experiencing. It is now common for doctors to

treat pain with medication, including opiates.1 And although doctors can use their intuition

and experience to guide them as to when and how much pain medication is appropriate, there

is no magic formula. One place where doctors focus on treating pain is a pain clinic. Ray

and Tina Stapleton founded one such clinic in Auxier, Kentucky, called Paintsville Auto

Accident Healthcare (“PAAH”).                   The Stapletons—Dr. Arny’s eventual employers—

struggled to keep doctors at PAAH, so they used a recruiter to obtain a temporary doctor

until they could find a permanent one.

         Dr. Arny was not a specialist in pain management. Rather, he was trained as a

pathologist and worked in the military for most of his career. R. 308 at 8–12 (trial testimony

of Dr. Arny). Dr. Arny initially retired from medicine in 2009, when he was in his early 60s.

Id. at 12. A year later, Dr. Arny ran into financial troubles and thus decided to return to

work. Id. at 13. After Dr. Arny failed to secure work as a pathologist, he received a job

offer from Ray and Tina Stapleton. Id. at 13, 14. The Stapletons were looking for a doctor



1
  The Court takes no position on whether pain should be treated in this manner. That decision is better left to the
doctors and experts. For a thorough and very thoughtful analysis of how pain management evolved to its current
state, one can read Dreamland by Sam Quinones (2015).


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to work at their clinic until they could find a doctor who was certified in pain management.

Id. at 14.

        Dr. Arny began working at PAAH in August 2010. He inherited most of his patients

from Dr. Doina Saxman, his predecessor at PAAH, and he continued to treat his new patients

in accordance with her plans. Id. at 16, 20. But one month after starting his job at PAAH,

Dr. Arny realized it was not a good fit, so he gave the Stapletons notice. Id. at 16. The

Stapletons expected Dr. Arny to see 30 to 35 patients a day, and Dr. Arny felt that he could

not adequately treat so many patients in so short a time. Id. Soon after he left, though, the

Stapletons convinced Dr. Arny to return to the clinic until they could find a permanent

replacement for him. Id. at 17–18. As an incentive, the Stapletons offered to double Dr.

Arny’s pay from $120 to $240 an hour and to make changes to allow Dr. Arny to better serve

his patients. Id.; R. 306 at 32 (testimony of Detective Hunter). Dr. Arny remained at PAAH

through November 2011.

        On August 2, 2012, a grand jury indicted Dr. Arny, the Stapletons, and Dr. Emmanuel

Acosta (Dr. Arny’s successor), for conspiring to distribute and unlawfully dispense several

controlled substances in violation of 21 U.S.C. § 841(a)(1). R. 1 (indictment). 2 The Court

appointed Wesley “Kent” Varney to represent Dr. Arny. R. 16 (minute entry order for

arraignment). Immediately thereafter, Dr. Arny retained Varney and Stephen Owens (taken

together, “previous counsel”) to represent him. Id.

        Dr. Arny went to trial on September 15, 2014. Because Dr. Arny prescribed the drugs

through his medical work, the government bore the burden to prove that Dr. Arny conspired


2
 Dr. Arny was charged with conspiracy to distribute and unlawfully dispense three controlled substances:
Oxycodone, Hydrocodone, and Xanax. R. 279 at 13.


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with others to distribute controlled substances “outside the course of ordinary medical

practice.” R. 279 at 13 (jury instructions). To prove that Dr. Arny operated “outside the

course of ordinary medical practice,” the government needed to show that Dr. Arny did not

issue the drugs for a legitimate medical purpose and in the usual course of medical practice.

Id. at 16.

        To try to prove these two elements, the government relied mostly on the testimony of

(1) medical expert Dr. Paul Harries and (2) four of Dr. Arny’s prior patients. Dr. Harries

testified that Dr. Arny did not examine his patients, did not have valid doctor-patient

relationships, and prescribed a “toxic” combination of medications to patients without a

demonstrated medical need. See R. 284-1 at 33–35, 114–15. Dr. Harries opined that Dr.

Arny had not prescribed these medications “for a legitimate medical purpose” or “in the

usual course of medical practice.”       Id. at 40.   Four of Dr. Arny’s patients testified

consistently with Dr. Harries. Specifically, they testified that Dr. Arny did not examine them

thoroughly or ask them any questions. See R. 305 at 185–247, 252–295. They also testified

that they saw Dr. Arny to feed a drug habit, not because they legitimately needed pain

medication. See id. In total, the government called 15 witnesses, including the Stapletons,

two detectives, and an official from the Kentucky Board of Medical Licensure (“KBML”).

        On the other hand, after two years of representing Dr. Arny, previous counsel called

only three witnesses on Dr. Arny’s behalf. One of these witnesses was Dr. Arny himself. He

testified that he was just following Dr. Saxman’s treatment plans when he arrived at PAAH.

R. 308 at 20. Dr. Saxman was not indicted in the case; in fact, she is still practicing medicine

in Lexington, Kentucky. R. 419 at 41 (testimony of Dr. Saxman at evidentiary hearing). Dr.

Arny repeatedly asked previous counsel to call Dr. Saxman as a witness for him. See R. 405-


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1 at 3–8 (emails from Dr. Arny to previous counsel). But they did not call Dr. Saxman to

testify.

           Previous counsel also called a medical expert, Dr. William Ackerman. Dr. Ackerman

testified that, under the KBML rules, Dr. Arny was not required to examine every patient at

every visit. R. 281 at 57. Dr. Ackerman also stated that he believed Dr. Arny was just

making the best of a bad situation, and that Dr. Arny was not actually involved in the

conspiracy.      Id. at 50–51 (“[B]ecause of Dr. Arny’s lack of experience in prescribing

medications as well as his lack of experience treating pain patients, it is my professional

opinion he’s not trying to be part of a pill mill in eastern Kentucky . . . .”). However, Dr.

Ackerman did little else to help Dr. Arny’s case. See id. For example, Dr. Ackerman

admitted that Dr. Arny “did not follow the standard of care” because he “had no standard of

care.” Id. at 51. Dr. Ackerman also agreed with the government that a doctor engaged in

pain treatment should “definitely” have training in pain management. Id. at 37–38. Finally,

Dr. Ackerman testified that he reached his conclusion that Dr. Arny was not involved in the

conspiracy without knowing that patients at PAAH paid in cash or that Dr. Arny’s pay

doubled when he agreed to return to the clinic. Id. at 39, 43. The government later used

these three statements to lend support to its argument that Dr. Arny prescribed medications

outside “the usual course of medical practice.” In fact, the government’s attorney did an

effective job of turning this testimony against Dr. Arny. R. 307 at 7 (“I listened to the

testimony of Dr. Ackerman. In some ways—and I say this as a joke—I feel like he should

have been a prosecution witness. Felt like maybe we should send him a check because he

certainly wasn’t on the side of Dr. Arny. Not in the slightest.”).




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       Finally, previous counsel called Tina Stapleton’s mother, Ivory Castle, who worked in

a nurse-type position at PAAH while Dr. Arny worked there. On May 30, 2014, over three

months before the trial, Dr. Arny told previous counsel to call Ms. Castle. R. 405-1 at 7; see

also id. at 5 (“I want the jury to hear from Dr. Ackerman, Dr. Saxman, the nursing staff,

patients I helped, and a representative from [an] MRI facility.”). Even so, previous counsel

failed to meet with her at all; she went to the stand unprepared. See R. 306 at 79.

       The defense called no other witnesses. Previous counsel did not call any patients that

Dr. Arny helped and thus were unable to rebut the testimony of the patients who testified for

the government. They did not call Dr. Saxman to testify that her treatment plan—which Dr.

Arny followed—was based on legitimate medical need. See id. at 3. Instead, previous

counsel called a medical expert whose testimony partially bolstered the government’s case, a

witness whom they had not prepared, and the defendant himself. Then they rested.

       After the three-day trial, Dr. Arny was convicted of conspiracy to distribute and

unlawfully dispense controlled substances. Shortly after his conviction, Dr. Arny retained

new lawyers to examine his case. Dr. Arny’s new counsel filed a motion under Federal Rule

of Criminal Procedure 33 arguing that Dr. Arny was entitled to a new trial on the basis of

ineffective assistance of counsel. R. 336. For the reasons stated below, that motion is

granted.

                                        DISCUSSION

       Under Federal Rule of Criminal Procedure 33, the court may grant a defendant’s

motion for a new trial if “the interest of justice so requires.” Fed. R. Crim. P. 33(a). Rule 33

does not define the “interest of justice,” however, and courts have struggled to determine the

meaning of those words. United States v. Kuzniar, 881 F.2d 466, 470 (7th Cir. 1989).


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Instead of creating an overarching standard, courts have taken a piecemeal approach,

detailing what “the interest of justice” requires in specific situations. Whatever else the

interest of justice requires, courts unanimously agree that it requires a new trial if defense

counsel provides constitutionally deficient assistance. United States v. Munoz, 605 F.3d 359,

373–74 (6th Cir. 2010) (listing cases).

       At the Rule 33 stage, the trial judge has just witnessed the trial and thus is in a unique

position to assess the errors of counsel and the effect of those errors on the outcome of the

case. While this vantage point provides the trial judge with advantages over reviewing a cold

record, it does not change the standard. The defendant still must show that his attorney was

constitutionally ineffective under Strickland v. Washington, 466 U.S. 668 (1984). Munoz,

605 F.3d at 366–67. Strickland held that, to show constitutionally-ineffective assistance, a

defendant must first show that his attorney’s conduct “fell below an objective standard of

reasonableness.” 466 U.S. at 688.

I.     Strickland Deficiencies

       Counsel’s conduct is objectively unreasonable under Strickland if, “in light of all the

circumstances, the identified acts or omissions were outside the wide range of professionally

competent assistance.” Id. at 690. Courts may look to prevailing professional norms to

define “professionally competent assistance.” Id. However, “a court must indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance.”   Id. at 689.   Dr. Arny alleges that previous counsel made eight errors so

egregious that the Court cannot indulge that presumption here. The three errors that rise to

the level of Strickland deficiencies are discussed below.




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       a.     Previous counsel lied to Dr. Arny

       On several occasions, Dr. Arny asked previous counsel to call Dr. Saxman as a

witness during his trial. R. 405-1 at 1 (Dr. Arny affidavit); id. at 3–8 (emails between Dr.

Arny and previous counsel). He noticed that Dr. Saxman was not indicted, even though he

prescribed the same combination of pills she did. Thus, Dr. Arny believed that Dr. Saxman

might be able to provide helpful testimony. R. 405-1 at 3. In an email to previous counsel,

Dr. Arny stated, “I see Dr. Saxman is actively practicing medicine in Lexington, Kentucky

and I am charged with a felony. What did I do that she did not do? . . . I want to call my

predecessor, Dr. Saxman, as a witness in my defense.” Id. A month later, though, previous

counsel wrote to Dr. Arny that Assistant United States Attorney Roger West told them that

“Dr. Saxman has either a deal in place or soon will be indicted. Following her time at

[PAAH]. Her Lexington clinic was searched.” Id. at 8. None of that was true, and Mr. West

never made such a statement to previous counsel. See R. 429 at 25.

       Dr. Arny argues that previous counsel’s lie about Dr. Saxman was constitutionally-

unreasonable conduct under Strickland. Lawyers have an ethical duty not to lie to their

clients. See Lisa Lerman, Lying to Clients, 138 U. PA. L. REV. 659, 661 & n.2 (1990). And,

although the Model Rules of Professional Responsibility (“Model Rules”) do not explicitly

prohibit lawyers from lying to their clients, Model Rule 8.4(c) states that “it is professional

misconduct for a lawyer to . . . engage in conduct involving dishonesty, fraud, deceit, or

misrepresentation.” Model Rule 1.4(b) also requires lawyers to explain matters “to the

extent reasonably necessary to permit the client to make informed decisions regarding the

representation.” Here, previous counsel falsely told Dr. Arny that Dr. Saxman was going to


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be indicted, thus depriving him of the ability to make an “informed decision” about whether

she should testify on his behalf.       And previous counsel certainly “engaged in conduct

involving     dishonesty,   fraud,   deceit,   or       misrepresentation.”   Previous   counsel’s

misrepresentation to Dr. Arny therefore fell below prevailing professional norms and hence

was deficient conduct under Strickland.

       b.       Previous counsel failed to interview Dr. Saxman or call her as a witness

       Dr. Arny also alleges that previous counsel erred when they decided not to interview

Dr. Saxman. Under Strickland, counsel has “a duty to make reasonable investigations or to

make a reasonable decision that makes particular investigations unnecessary.” 466 U.S. at

691. “[A] particular decision not to investigate must be directly assessed for reasonableness

in all the circumstances, applying a heavy measure of deference to counsel’s judgments.” Id.

at 691.     Counsel’s decision not to investigate is more likely to be unreasonable if the

defendant told them to interview a witness and gave a reasonable explanation for this

request. Id. (“Counsel’s actions are usually based, quite properly, on informed strategic

choices made by the defendant and on information supplied by the defendant.”). Whether an

investigation decision was reasonable “depends critically” on the information the defendant

supplied to counsel. Id.

       Dr. Arny explained to previous counsel that he continued Dr. Saxman’s treatment

plans because she noted that they had been effective. R. 405-1 at 3. Though the government

implied that Dr. Saxman’s treatment plans were illegitimate, see R. 284-1 at 33–35

(deposition of Dr. Harries) (noting that Dr. Arny was prescribing a toxic combination of

medications); R. 281 at 25 (deposition of Dr. Ackerman) (stating that Dr. Arny prescribed

medications initially ordered by Dr. Saxman), Dr. Saxman was not indicted and was still


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practicing medicine. R. 405-1 at 3. Therefore, Dr. Arny reasonably believed her testimony

would demonstrate that he did not conspire with the Stapletons, as it would show that he

prescribed the drugs for a legitimate medical purpose. Id. Despite Dr. Arny’s repeated

requests and persuasive reasons for Dr. Saxman to testify at his trial, previous counsel still

did not interview Dr. Saxman or call her as a witness. See R. 277 (exhibit and witness list).3

Thus, counsel’s failure to interview Dr. Saxman seems unreasonable.

         The government responds that previous counsel’s decision not to interview Dr.

Saxman was strategic. Unlike Dr. Arny, Dr. Saxman had examined every patient before

prescribing pain medication, so previous counsel determined her testimony would be more

harmful to Dr. Arny than helpful. R. 404-1 ¶ 2. As an initial matter, it is unclear how

harmful this testimony would have been. First, Dr. Arny was not required to examine

patients at every visit before issuing prescriptions. See R. 281 at 57 (deposition of Dr.

Ackerman); R. 284-1 at 27–30 (deposition of Dr. Harries) (explaining that doctors

prescribing this level of pain medication should examine patients at every visit before issuing

prescriptions but were not required to do so under KBML rules at the time).                            As such, the

fact that Dr. Arny did not examine patients at every visit was only circumstantial evidence

that he was prescribing pain medications outside “the usual course of medical practice.” On

the other hand, Dr. Saxman could have explained why she believed her treatment plans were

medically necessary. So Dr. Saxman’s testimony would have rebutted the government’s


3
  Previous counsel did hire a private investigator to subpoena Dr. Saxman in June 2014, but Dr. Saxman was out of
the country, so he could not serve her. R. 419 at 36–37 (testimony of private investigator). Previous counsel did not
attempt to subpoena Dr. Saxman again, id. at 38, even though Dr. Arny’s trial was postponed twice. R. 247
(rescheduling Dr. Arny’s trial for August 18, 2014); R. 269 (rescheduling trial for September 15, 2014). Dr. Arny
alleges that previous counsel told him Dr. Saxman could not testify at his trial because she was out of the country at
the time of the final trial date. R. 405-1 at 1 (affidavit of Dr. Arny); but see R. 419 at 42 (testimony of Dr. Saxman)
(noting that Dr. Saxman was in the United States during Dr. Arny’s trial).


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direct evidence that Dr. Arny could not have had a legitimate medical purpose for

prescribing the drugs because the combination of drugs was toxic. See R. 284-1 at 33–35,

114–15. More importantly, though, multiple witnesses, including Detective Hunter, Dr.

Harries, and Dr. Arny himself, testified that Dr. Saxman examined every patient, while Dr.

Arny did not. So Dr. Saxman’s testimony as to this fact would have been cumulative.

Therefore, Dr. Saxman’s testimony would not have been harmful to Dr. Arny, so the decision

not to interview or call her seems not to be based on a reasonable strategy.

       Moreover, “[a] purportedly strategic decision is not objectively reasonable when the

attorney has failed to investigate his options and make a reasonable choice between them.”

Towns v. Smith, 395 F.3d 251, 258 (6th Cir. 2005) (quoting Horton v. Zant, 941 F.2d 1449,

1462 (11th Cir. 1991)). Thus, counsel may not decline to interview a “known and important”

witness without first “undertaking a full investigation into whether [the witness] could assist

in the [defendant’s] defense.” Id. (internal citations omitted). Here, Dr. Saxman was known

to previous counsel. See R. 405-1 at 3–8. And Dr. Arny explained to previous counsel why

she was important: Dr. Arny followed Dr. Saxman’s treatment plans, and yet she was still

practicing medicine while he was facing criminal charges. Dr. Saxman also could have

provided a legitimate medical reason for the treatment plans she created, which would have

rebutted the government’s expert testimony. Despite these powerful reasons for calling Dr.

Saxman, previous counsel chose not to interview her without undertaking a full investigation

into whether her testimony would help Dr. Arny. For example, there is no evidence that

previous counsel compared Dr. Saxman’s records to Dr. Arny’s to determine if he just

continued the treatment plans she established for each patient. Also, there is no evidence that

previous counsel analyzed the records to determine how many of Dr. Arny’s patients were


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previously with Dr. Saxman. Without any such investigation, previous counsel had no way

of knowing how helpful Dr. Saxman’s testimony would be, so they could not make a

strategic decision about whether to interview her. Therefore, previous counsel’s decision not

to interview Dr. Saxman was objectively unreasonable.

       c.     Previous counsel failed to investigate or interview Dr. Arny’s patients

       Dr. Arny argues that his counsel was ineffective for failing to investigate or interview

his previous patients. The government called four of Dr. Arny’s patients as witnesses against

him, but previous counsel did not call a single patient, even after Dr. Arny emailed previous

counsel asking them to call to the stand “patients [whom Dr. Arny] helped.” R. 405-1 at 5.

Previous counsel performed no investigation following this request from Dr. Arny, nor did

previous counsel interview any of Dr. Arny’s patients. After Dr. Arny moved for a new trial,

the Court ordered Dr. Arny to provide evidence related to his patients. R. 433. He submitted

six affidavits from previous patients whom he helped or whose testimony would be helpful to

his case. See R. 434. As Dr. Arny points out, his new counsel found these patients in four

business days, while previous counsel did not find a single one in two years. Id.

       The question is whether defense counsel made an unreasonable decision when they

neither investigated nor interviewed Dr. Arny’s previous patients. Counsel has a duty to

“investigate all witnesses who may have information concerning his or her client’s guilt or

innocence.” Towns, 395 F.3d at 258. Dr. Arny’s patients who had legitimate pain could

have testified that Dr. Arny examined them and prescribed them pain medication for a

legitimate medical purpose. And given that the government needed to show that Dr. Arny

did not have a “legitimate medical purpose” for prescribing medications, see R. 279 at 16,

such testimony would have been highly relevant to Dr. Arny’s guilt or innocence.


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         The record contains no evidence that the decision not to investigate or interview these

patients was strategic; rather, it stems from neglect. See United States v. Six, 600 F. App’x

346, 351 (6th Cir. 2015) (“It is not the court’s duty to second-guess [counsel’s] strategic

decisions but, instead, to decide whether they were in fact strategic decisions and not

neglect.”). In his affidavit, Mr. Owens stated that previous counsel reviewed some files and

wanted to focus on the positive documents therein, so they chose not to review other files.

R. 438-1. That statement may explain why counsel chose not to investigate other patient

files, but it does not explain why counsel failed to interview some of Dr. Arny’s previous

patients to determine if any of them could offer testimony helpful to Dr. Arny.                                 The

government offers no explanation for why previous counsel chose not to investigate or

interview any of Dr. Arny’s patients. Without any evidence of a reasonable strategy, the

decision not to investigate or interview patients seems unjustified.4 Towns, 395 F.3d at 258

(“A purportedly strategic decision is not objectively reasonable when the attorney has failed

to investigate his options and make a reasonable choice between them.” (quoting Horton,

941 F.2d at 1462)).

         The government responds that Dr. Arny agreed that testimony from his previous

patients would not be helpful. R. 438 at 3. In support of this argument, the government

points to an email from Dr. Arny to previous counsel in which he said: “In my opinion there

is nothing special about [the 30 charts reviewed by the state] and if ANY other 30 charts

were selected they would have said exactly the same thing.” R. 438-2 (sent November

2012). Dr. Arny did admit that all of his charts were virtually the same, and he agreed that


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  Though previous counsel did not have a duty to interview all of the patients Dr. Arny helped, they did have a duty
to interview some of these patients to determine whether they had helpful information.


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previous counsel should not investigate other patient files. Id. Nowhere in the email,

though, did Dr. Arny agree that his patients should not testify, or that counsel should not

interview patients he helped. In fact, Dr. Arny stated in an email over a year later that he

wanted them to call patients he helped. R. 405-1 at 5 (sent January 2014). Indeed, the whole

point of patient testimony is to provide extra information not immediately apparent from

medical files. So Dr. Arny never agreed that his patients should not testify. Thus, previous

counsel’s decision not to interview or investigate these patients was unreasonable.

II.    Strickland Prejudice

       To show constitutionally-ineffective assistance under Strickland, a defendant must

also demonstrate that counsel’s professionally unreasonable errors prejudiced his defense. In

other words, he must show that there is a reasonable probability that but for counsel’s errors,

the jury would have found reasonable doubt. 466 U.S. at 694; see also Combs v. Coyle, 205

F.3d 269, 290 (6th Cir. 2000). “A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Id. A reasonable probability does not mean that it is

more likely than not that the outcome would have been different.              Id. at 693.   When

determining if there is a reasonable probability of a different outcome, the Court must weigh

counsel’s errors cumulatively against the evidence as a whole. Stewart v. Wolfenbarger, 468

F.3d 338, 361 (6th Cir. 2006); Mackey v. Russell, 148 F. App’x 355, 368–69 (6th Cir. 2005)

(“Here, the clear mandate of Strickland and several other Supreme Court cases is that the

effect of all counsel’s errors is to be considered in toto, against the backdrop of the totality of

the evidence in the case.”); cf. Williams v. Taylor, 529 U.S. 362, 398 (2000) (“[T]he State

Supreme Court’s prejudice determination was unreasonable insofar as it failed to evaluate the




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totality of the available mitigation evidence . . . in reweighing it against the evidence in

aggravation.”).

       Here, previous counsel lied to Dr. Arny and failed to interview Dr. Saxman. As a

result, she never testified at trial. And because previous counsel failed to investigate or

interview patients Dr. Arny helped, none of them testified either. Therefore, the question is

whether there is a reasonable probability that the jury would have acquitted if Dr. Saxman

and Dr. Arny’s patients had testified.

       a.     Effect of the lie and the failure to interview Dr. Saxman

       Dr. Saxman’s testimony would have helped challenge a key element of the charge

against Dr. Arny: whether he had a legitimate medical purpose for issuing the prescriptions.

The government expert, Dr. Paul Harries, testified that: Dr. Arny was prescribing a “toxic”

combination of medications to some patients; that this combination “tell[s] you the odds are

that there is some kind of abuse going on here”; that there was no need to prescribe those

medications; and that “[e]very patient was getting multiple controlled substances for no clear

valid medical reason, with no treatment plan, no treatment goal.” R. 284-1 at 17, 34–35, 40,

117. Thus, the government argued, Dr. Harries’s testimony showed that Dr. Arny had no

legitimate medical purpose for prescribing those medications.

       According to Dr. Arny, however, he was just following Dr. Saxman’s treatment plans

when he prescribed these medications. And there is nothing to suggest that Dr. Saxman was

involved in the conspiracy: she has not been indicted, her current office has not been

searched, and, to the Court’s knowledge, she has never even been told she was the target of

an investigation. Imagine the power of Dr. Saxman’s testimony. She could have testified

that, although she created the treatment plans on which Dr. Arny relied, she continues to


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practice medicine, and the government has not investigated, arrested, or charged her. Any

lay person hearing this would surely have serious questions about whether these

combinations of medication were truly toxic. Moreover, Dr. Saxman could have explained

why she prescribed those combinations of pills to specific patients. Her testimony, therefore,

would have allowed defense counsel to argue that a reasonable doctor would have—and in

fact, did—prescribe the combination of medications that Dr. Arny was prescribing. So her

testimony could have shown that there was a legitimate medical purpose for these

prescriptions.

       Dr. Saxman also would have counteracted the testimony of some of Dr. Arny’s

previous patients. Josh Haney, for example, testified for the government that he kept seeing

Dr. Arny because “[i]t fed a habit,” not because he had a legitimate medical need for pain

killers. R. 305 at 193. However, Haney also admitted that he received his first oxycodone

prescription from Dr. Saxman. Id. at 195. Kimberly Preston testified that Dr. Saxman

initially prescribed her Percocet 10s, and that Dr. Arny initially lowered her to Lortab but

then continued the Percocet afterwards. R. 305 at 210, 212, 214. Rosa Sexton, another

government witness, also testified that Dr. Arny just continued Dr. Saxman’s course of

treatment for her. Id. at 237. For each of these patients, Dr. Saxman could have explained

why she prescribed pain killers to these patients. Thus, her testimony could have provided a

“legitimate medical purpose” for the distribution of controlled substances to each of these

patients.

       The government responds again that Dr. Saxman’s testimony would actually have

hurt Dr. Arny more than it helped. However, as discussed above, Dr. Saxman’s testimony

would have been more helpful (to counteract the government’s proof regarding “legitimate


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medical purpose”) than harmful (regarding Dr. Arny not seeing every patient, which was

uncontested). Supra Part I.b. So this argument fails.

         b.       Effect of the failure to investigate or interview Dr. Arny’s patients

                  i.       Legitimate medical purpose

         Dr. Arny’s new counsel submitted affidavits from six patients whom he helped.5 Like

Dr. Saxman’s testimony, the testimony of these patients would have suggested that Dr.

Arny’s distribution of drugs was for a “legitimate medical purpose.” For example, James

Bevins suffered from chronic pain beginning in 1984, when he cracked two vertebrae in a car

accident. R. 434-2 at 1. Fourteen years later, Bevins threw his back out at work, which

disabled him. Id. Bevins went to PAAH for medication to help with his pain. Bevins stated

that Dr. Arny provided him “with good medical care,” and that Dr. Arny reduced his

medications, which caused his pain to increase. Id. at 1–2. An examination of Bevins’s

records support his statements. All of Bevins’s charts note that Bevins experienced pain in

his lower back, hips, and right leg. R. 441-1 at 43, 46, 48, 50, 53, 57; R. 441-2 at 2, 4, 6, 9,

11, 13. When Dr. Arny first saw Bevins, Dr. Arny prescribed Bevins 120 Percocet 10/650,

and 30 Lorcet 10/650 to help his pain, R. 441-2 at 13,6 which is what Dr. Saxman had

prescribed for him. Id. at 19. However, in June 2011, Dr. Arny lowered Bevins’s Percocet

to 10/325. R. 441-1 at 50. In July 2011, Dr. Arny took Bevins off Lorcet completely. Id. at


5
  The Court only gave Dr. Arny four business days to find and obtain affidavits from patients Dr. Arny helped. In
those four days, Dr. Arny’s current counsel was able to get affidavits from six patients. Given more time, current
counsel will likely be able to find more patients to testify on Dr. Arny’s behalf.
6
  Dr. Arny prescribed oxycodone in the form of Percocet. Percocet is a mixture of oxycodone and acetaminophen
(the main drug in Tylenol). Dr. Arny prescribed hydrocodone in the form of Lorcet, which is a combination of
hydrocodone and acetaminophen. Acetaminophen enhances the pain-killing effects of oxycodone and hydrocodone.
The amount of acetaminophen in each drug is indicated by the second number describing the substance. For
example, Percocet 10/650 has 650 mg of acetaminophen, while Percocet 10/325 has 325 mg of acetaminophen. So
Percocet 10/325 has half as much acetaminophen as Percocet 10/650.


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48. The next month, though, Bevins told Dr. Arny he was experiencing increased pain due to

this reduction, so Dr. Arny prescribed him Lorcet again. Id. at 46. These records, coupled

with Bevins’s testimony, suggest that Dr. Arny had a legitimate medical purpose for

prescribing Bevins Percocet and Lorcet. See R. 284-1 at 17–19 (deposition of Dr. Harries)

(explaining that patient examinations and doctor’s investigation into what medications are or

are not helpful to a patient can demonstrate legitimate medical need for prescription).

                 ii.      Usual course of medical practice

        The testimony of Dr. Arny’s patients would have also countered the government’s

evidence that Dr. Arny did not distribute drugs “in the usual course of medical practice.” Dr.

Harries stated that Dr. Arny did not examine his patients every visit and that he did not have

a relationship with his patients, suggesting that Dr. Arny acted outside the scope of ordinary

medical practice. Id. at 27–30, 40. But the testimony of patient Jamie Adkins would have

counteracted Dr. Harries’s testimony. In an affidavit, Adkins noted that “Dr. Arny was a

good doctor and provided me with quality healthcare services,” and that he “reduced [her]

muscle relaxer and Xanax because [she] was getting too much.” R. 434-1 at 2.7 Adkins’s

medical records reveal that she was seen monthly from April 2011 through September 2011.

R. 441 at 40–41, 57–66. These records show Dr. Arny’s interest in Adkins’s health. For

example, in August 2011, he noted that she had gained significant weight since the previous

month, and he indicated that her Xanax and Soma needed to be decreased as a result. Id. at

59 (lowering Adkins’s Xanax and Soma prescriptions from 100 pills to 60 pills, and

decreasing her usage from one pill every 8 hours to one every 12 hours). Adkins’s testimony
7
 Adkins also stated that Dr. Arny switched her from “Lorocet to Norocot” because Norocot “had less Tylenol and
would be less damaging to [her] liver.” Id. The government correctly points out that Dr. Acosta switched Adkins to
Norocot, not Dr. Arny. See R. 441 at 53. However, Adkins’s medical records still demonstrate that Dr. Arny
examined Adkins on multiple visits and did lower her Xanax and Soma prescriptions when necessary. Id. at 59.


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would suggest that Dr. Arny cared about his patients’ well-being, and that he did conduct

regular examinations of some patients.

       James Bevins’s testimony would also have indicated that Dr. Arny cared about his

patients and prescribed medication in the “usual course of medical practice.”            As a

preliminary matter, Bevins was examined monthly from September 2010 through September

2011. R. 441-1 at 43, 46, 48, 50, 53, 57; R. 441-2 at 2, 4, 6, 9, 11, 13. His records also show

that Dr. Arny actively adjusted Bevins’s medication as necessary. See id. at 43, 46, 48, 50,

53. Such adjustments arguably fell within the “usual course of medical practice,” see R. 284-

1 at 26–27, and suggest a valid doctor-patient relationship. See R. 434-2 at 1 (affidavit of

Bevins) (“From my experience, Dr. Arny provided me with good medical care.”); but see R.

284-1 at 40 (deposition of Dr. Harries) (stating Dr. Arny did not have a valid doctor-patient

relationship with his patients); R. 307 at 12 (closing argument of government) (“Was [Dr.

Arny’s prescription of controlled substances] outside the usual course of medical practice?

Yes, it was.   It wasn’t even a medical practice.       It was a pill mill.    Was there any

doctor/patient relationship? There’s no evidence of that. None.”). Moreover, Dr. Harries

stated that Dr. Arny was prescribing a “near toxic” amount of Tylenol to his patients, which

showed a “complete disregard for the well-being of the patients.” R. 284-1 at 114–15.

However, Bevins’s medical records demonstrate that Dr. Arny was worried about the amount

of Tylenol he was prescribing. Dr. Arny originally lowered Bevins’s Percocet to 10/325 to

decrease the level of acetaminophen (Tylenol) Bevins was taking. R. 441-1 at 50. Dr. Arny

also took Bevins off Lorcet completely to decrease his Tylenol consumption. See id. at 48.

However, Bevins experienced increased pain as a result, so Dr. Arny had to put him back on

Lorcet. Id. at 46. And the next month, Dr. Arny reduced Bevins’s Lorcet to 10/325, noting


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“chronic use of pain meds [with] Tylenol.” Id. at 43. Thus, Bevins’s testimony and medical

records would have shown that Dr. Arny (a) worried about the level of Tylenol his patients

were using and (b) acted to lower the amount.

       Patient Brian Blackburn’s testimony would also have been helpful to show Dr. Arny’s

interest in his patients. In his affidavit, Blackburn stated that “Dr. Arny told me don’t take

[the pills] if you don’t need them for pain. He also went over my medications. He told me if

I take too much it could hurt my liver. Dr. [Arny] wanted to make sure I was taking my

medications the right way.” R. 434-4 at 2. These statements suggest that Dr. Arny properly

warned patients of the risks associated with pain medication. Blackburn’s medical records

support his affidavit. For example, Dr. Arny decreased Blackburn’s Lorcet to reduce his

acetaminophen intake. R. 441-5 at 49. Dr. Arny and Blackburn also discussed the option of

switching from Lorcet 10/650 to Percocet 7.5/325 to lower his acetaminophen intake. Id.

       The testimony and medical records of all three of the patients discussed above also

would have contradicted the government’s evidence that Dr. Arny’s examinations were

outside the usual course of medical practice. At trial, the government introduced evidence

that Dr. Arny only examined young, skinny female patients.           See, e.g., R. 305 at 36

(testimony of Mr. Stapleton). The government used this evidence to show that Dr. Arny’s

method for determining which patients to examine was not within usual course of medical

practice. See R. 284-1 at 21–23 (explaining that a doctor must examine patients to show a

valid doctor-patient relationship). None of the patients mentioned above fit the description

of young and skinny females. See R. 441 at 17, 68; R. 441-1; R. 441-5. Also, the medical

records reveal that these patients were seen monthly. Finally, for all three of these patients,

Dr. Arny adjusted their medication when necessary, whether to help with increased pain, to


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reduce weight gain, or to decrease levels of Tylenol consumption. Thus, these witnesses

would suggest that Dr. Arny did not only examine or care about “young, skinny females.” R.

305 at 36.

              iii.   Testimony of patients the government called

       Finally, Dr. Arny’s patients would have challenged the testimony of the patients

whom the government called. The government’s patient witnesses testified generally that

Dr. Arny did not examine them, and that he just continued Dr. Saxman’s course of treatment

without asking any questions. See R. 305 at 188–90, 210–15, 237, 242. But these patients

were confessed drug addicts who faced criminal charges for selling controlled substances.

See, e.g., id. at 200–02, 227–28, 253–54. On the other hand, the patients presented by Dr.

Arny were non-drug addicts with legitimate pain problems. Had the jury heard testimony

from these patients that Dr. Arny examined them, adjusted their medications when necessary,

and provided them with good treatment, the jury might have believed them over the

government’s witnesses.

       Indeed, the affidavits submitted by Dr. Arny’s patients and their medical records paint

a somewhat different picture than that of the government’s witnesses. Jamie Adkins stated

that Dr. Arny initially prescribed her the same medication as her previous doctor, but then

Dr. Arny reduced her medications. R. 434-1 at 2; see also R. 441 at 59. James Bevins stated

that Dr. Arny noted in his chart that Bevins’s pain was increasing due to his medication

reduction. R. 434-2 at 2. Bevins’s medical records show that Dr. Arny took Bevins off

Lorcet, for example, due to Tylenol, but then re-prescribed it when Bevins’s pain increased.

R. 441-1 at 46, 48. Brian Blackburn stated that Dr. Arny referred him to get tests done,

which showed he had spinal stenosis and bulging disks. R. 434-4 at 2. Dr. Arny also


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counseled him on not taking the various medications unless he needed them, id., and adjusted

Blackburn’s medication to lower his Tylenol intake. R. 441-5 at 49. Annette Blair, another

of Dr. Arny’s patients, stated that Dr. Arny originally prescribed her one dosage, but then

changed the dosage after he received her MRI. R. 434-3 at 1. She also asserted that the

Lortab Dr. Arny prescribed was helpful in relieving her pain. Id. at 2. Finally, Doug Tackett

stated in his affidavit that other doctors at the pain clinic overprescribed pain killers, but “Dr.

Arny wasn’t like those other doctors.           Dr. Arny was a good doctor.            He didn’t

overpr[e]scribe. He really cared about my health. . . . Dr. Arny would reduce the number of

Lorocet pills from 4 a day to 3 a day until he could run more tests. . . . Dr. Arny would try to

find out what the problem was. Dr. Arny wouldn’t write a prescription if he didn’t think you

needed it.” R. 434-6 at 1–2. Taken together, these affidavits indicate that Dr. Arny was

concerned for his patients’ well-being, that he examined his patients, and that he did not just

continue Dr. Saxman’s treatment plan.

       On the whole, these patients would have powerfully rebutted the government’s

evidence. They would have provided the jury with personal accounts of how Dr. Arny

helped them deal with their legitimate, chronic pain. And their medical records would have

shown that Dr. Arny did not just blindly follow Dr. Saxman’s treatment plans; rather, he

adjusted medications when necessary, and prevented his patients from taking too much

acetaminophen. Moreover, as discussed above, the record contains no evidence that these

patients were drug addicts. The jury could easily have found them more credible than the

government’s patient witnesses. Overall, the testimony of these patients would have caused

the jury to question whether Dr. Arny illegitimately prescribed pain medications or lacked

valid doctor-patient relationships, even with the government’s witnesses.


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       c.     Cumulative prejudicial effect of these deficiencies

       As stated above, the government needed to prove beyond a reasonable doubt that Dr.

Arny did not distribute controlled substances “for a legitimate medical purpose” or “in the

usual course of medical practice.” R. 279 at 16. Through the testimony of Dr. Harries and

Dr. Arny’s previous patients, the government suggested that Dr. Arny acted unreasonably as

a doctor and that there was no legitimate reason for him to be prescribing the medications he

prescribed.

       The testimony of Dr. Saxman and the patients Dr. Arny helped would have rebutted

the government’s evidence. Dr. Saxman’s testimony would have demonstrated that there

was a “legitimate medical purpose” for the prescriptions Dr. Arny signed when he was

following her treatment plan. And the testimonies of the patients Dr. Arny helped (coupled

with their medical records) would have suggested that Dr. Arny acted as a reasonable

doctor—he did examine his patients, and he attempted to lower their medications when

necessary. It is true that many of Dr. Arny’s charts reveal that Dr. Arny did not see his

patients every visit, and that his examinations may have been incomplete when he did. But

these facts just show that Dr. Arny may have been a bad pain doctor; they are not themselves

sufficient to prove that he was involved in the conspiracy. See id. (instructing jury that

“[y]ou may not convict the defendant merely because he acted negligently or failed to follow

a rule or proper medical standards.”). And the medical records of Jamie Adkins, James

Bevins, and Brian Blackburn reveal that they were examined on every visit, and that Dr.

Arny reacted appropriately if these examinations showed any change in their conditions.

This evidence suggests that Dr. Arny prescribed pain medication “in the usual course of

medical practice.” See R. 284-1 at 26–27. The defense could have used the testimony of Dr.


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Saxman and Dr. Arny’s patients to argue that he distributed controlled substances “for a

legitimate medical purpose” and “in the usual course of medical practice.” The jury might

well have accepted that argument over the government’s argument. There is a reasonable

probability that, but for previous counsel’s errors, the jury would have had a reasonable

doubt about Dr. Arny’s guilt. Therefore, previous counsel’s errors prejudiced Dr. Arny

under Strickland. See Combs, 205 F.3d at 290.8

III.    Remaining Errors

        Dr. Arny asserts that previous counsel made five other errors that were unreasonable.

One of these errors was previous counsel’s failure to attend an important Daubert hearing. A

year before Dr. Arny’s trial, counsel for the other three defendants filed Daubert motions to

exclude Detective Hunter, a state police officer whom the United States was offering as an

expert witness on pill mills. R. 127; R. 133. Previous counsel did not file a Daubert motion

or join in his codefendants’ motion.              On August 5, 2013, a hearing was held on the

defendants’ motions. R. 159 (transcript of Daubert hearing). Detective Hunter testified at

the hearing and was cross-examined by counsel for the other three defendants. But previous

counsel was not present at the hearing. R. 160 (minutes of Daubert hearing). As a result,

previous counsel did not hear Detective Hunter testify, and they were unable to cross-

examine Detective Hunter. Following the hearing, the Court limited Detective Hunter’s

opinion, stating it would be unduly prejudicial under Federal Rule of Evidence 403 for him

to opine on whether PAAH exhibited the features of a pill mill, and whether any of the


8
  The Court does not come to this decision lightly. Steve Owens and Kent Varney are two of the finest lawyers in
Eastern Kentucky and have appeared before the Court on numerous occasions. There are many occasions where Mr.
Owens and Mr. Varney went above and beyond the call of duty in representing their clients. This just happened not
to be one of those occasions.


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characteristics of PAAH were inconsistent with a legitimate medical practice. R. 182 at 3–4

(Daubert order).

       Dr. Arny claims that previous counsel’s failure to attend the hearing was

unreasonable. Previous counsel did not have permission from the Court to miss the hearing.

R. 159 at 4–5. Of course, that alone does not make their performance deficient under

Strickland. But when counsel fails to attend a hearing where a key witness will testify, they

lose the opportunity to assess the witness’s credibility, the witness’s responses to questions,

and the witness’s demeanor. None of these things can be gauged from a cold transcript.

Moreover, observing counsel for the other defendants question the witness can help counsel

determine whether their own cross-examination strategy is sound. Indeed, as most defense

counsel know, the opportunity to question a government witness ahead of trial can help

counsel assess the strengths and weaknesses of the government’s case and of that particular

witness. Giving up this opportunity can ultimately harm the client, as it did here.

       Despite the importance of the hearing, though, previous counsel’s failure to attend the

hearing is not unreasonable conduct under Strickland. Since previous counsel did not file or

join a Daubert motion to exclude Detective Hunter’s testimony, counsel reasonably could

have believed they did not need to attend the hearing. See id. at 159 (noting previous counsel

did not file a Daubert motion but could order a transcript of the proceedings). And the

purported strategy behind their decision made some sense: they did not want to give away

the questions they ultimately wanted to use at trial.       See Strickland, 466 U.S. at 690

(“Because of the difficulties inherent in [evaluating counsel’s conduct], a court must indulge

a strong presumption that counsel’s conduct falls within the wide range of reasonable

professional assistance; that is, the defendant must overcome the presumption that, under the


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circumstances, the challenged action might be considered sound trial strategy.” (internal

quotations omitted)).

        Unfortunately, however, the damaging effect of not attending the hearing and

assessing the strength of Detective Hunter’s testimony became immediately apparent at trial.

Detective Hunter was one of the government’s best and most credible witnesses. Previous

counsel would surely have noticed this if they had attended the hearing—the Court certainly

did. In its Daubert order, the Court excluded as unduly prejudicial Detective Hunter’s

application of the facts in this case to the profile of a pill mill, stating that “there is a

particularly acute risk the jury will convict [the defendant] simply because the defendant fits

the profile” of a pill mill doctor. R. 182 at 13 (citing United States v. Quigley, 890 F.2d

1019, 1023–24 (8th Cir. 1989)). The Court reasoned that the jury could itself compare the

facts of the case to the pill-mill profile, so “linking the traits of a typical pill mill to [PAAH]

carries a significant risk of unfair prejudice.” Id. However, when Detective Hunter testified

at Dr. Arny’s trial, previous counsel elicited the very testimony the Court excluded as

prejudicial. R. 306 at 42–56; see also R. 182 (Daubert order).9 Previous counsel did not ask

any questions that directly asked for the excluded testimony. See id. However, Detective

Hunter’s answers included testimony that the Court excluded in its Daubert order, and

previous counsel did nothing to control Detective Hunter. Previous counsel did not move to

strike. He did not point to the Court’s order and ask for a limiting instruction. Rather, he

proceeded as if nothing was going wrong. As a result, previous counsel allowed Detective

9
 Dr. Arny also argues that previous counsel’s failure to enforce the Daubert order during cross examination was its
own error under Strickland. However, cross examinations “fall[] within the area of trial tactics and strategy that
should not be subjected to second guessing and hindsight by this Court.” United States v. Steele, 727 F.2d 580, 591
(6th Cir. 1984). So this error was not unreasonable. As such, the Court only considers this error as an effect of
previous counsel’s failure to attend the Daubert hearing.


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Hunter to testify that it is “typical” of pill mills that Dr. Arny removed patients from PAAH

because “[t]hey’re trying to put on the air of a legitimate medical facility.” Id. at 53; see also

id. at 42, 54. Detective Hunter also stated that Dr. Arny’s use of MRIs and x-rays was

consistent with pill-mill physicians because they use such tests to generate cash. Id. at 42.

Finally, in response to previous counsel’s question about Dr. Arny lowering prescription

levels, Detective Hunter stated that pill-mill physicians commonly decrease a patient’s

medication. Id. at 43. All three of these statements applied the profile of a pill mill to PAAH

and the profile of a pill-mill doctor to Dr. Arny. Thus, the jury could have convicted Dr.

Arny solely based on Detective Hunter’s application of pill-mill profiles to the facts. See R.

182 at 13.

         Because the decision not to attend the Daubert hearing was reasonable under

Strickland, the fact that this decision might also have prejudiced Dr. Arny through Detective

Hunter’s testimony has no effect on the Court’s decision today. Under some lesser standard

of ineffective assistance of counsel under Rule 33, the failure to attend the Daubert hearing

might be an error the Court could consider. See Munoz, 605 F.3d at 373–76 (considering

whether Rule 33 may permit a court to grant a new trial under Rule 33 for ineffective

assistance of counsel under a lesser standard than Strickland). However, because three of

previous counsel’s errors satisfy the Strickland standard, the Court need not answer the

difficult questions of whether Rule 33 allows for a new trial under some lesser standard than

Strickland; if so, what this standard should be; and whether their failure to attend the Daubert

hearing meets that standard.10


10
  Dr. Arny asserts that previous counsel made three more errors that were deficient under Strickland when they (a)
failed to file any motions in limine, (b) failed to file a motion to suppress Dr. Arny’s statement, and (c) failed to


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                                                CONCLUSION

         In the end, previous counsel’s representation of Dr. Arny was constitutionally

deficient under Strickland. Accordingly, it is ORDERED that Dr. Arny’s motion for a new

trial, R. 336, is GRANTED.

         A separate opinion will issue on the defendant’s motion for leave to file, R. 335.

         This the 28th day of September, 2015.




address the elements of the crime in closing argument. Because the three errors discussed supra Part I are sufficient
to meet Strickland, the Court need not address the remaining errors.


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